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U.S. Department of Justice

Civil Rights Division

NOTICE OF RIGHT TO SUE
WITHIN 90 DAYS

950 Pennsylvania Avenue, N.W.
CERTIFIED MAIL Karen Ferguson , EMP, PHB, Room 4239
5068 5751 Washington, DC 20530

November 19, 2008
Mr. David L. Pakter
c/o Joy Hochstadt, Esquire
Attorney at Law
300 Central Park West, Ste. E
New York, NY 10024-1590

Re: EEOC Charge Against New York City Department of Education
No. 166200805570

Dear Mr. Pakter:

Because you filed the above charge with the Equal Employment
Opportunity Commission, and the Commission has determined that it will not
be able to investigate and conciliate that charge within 180 days of the
date the Commission assumed jurisdiction over the charge and the
Department has determined that it will not file any lawsuit(s) based
thereon within that time, and because you through your attorney have
specifically requested this Notice, you are hereby notified that you have
the right to institute a civil action under Title VII of the Civil Rights
Act of 1964, as amended, 42 U.S.C. 2000e, et seq., against the above-named
respondent.

Tf you choose to commence a civil action, such suit must be filed in
the appropriate Court within 90 days of your receipt of this Notice.

The investigative file pertaining to your case is located in the EEOC
New York District Office, New York, NY.

This Notice should not be taken to mean that the Department of
Justice has made a judgment as to whether or not your case is meritorious.

Sincerely,

Grace Chung Becker
Acting Assistant Attorney General

Supervisory Civil Rights Analyst
Employment Litigation Section

cc: New York District Office, EEOC
New York City Department of Education
